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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                            Newport News Division

UNITED STATES OF AMERICA

v.                                                         4:06CR60

JAVON SAVOY,

                   Defendant.

                         REPORT AND RECOMMENDATION
                          CONCERNING GUILTY PLEA

           Defendant, by consent, has appeared before the undersigned

pursuant to Rule 11, Federal Rules of Criminal Procedure, and referral

from a United States District Judge and has entered a guilty plea to

conspiracy to possess with intent to distribute cocaine and possession

of a firearm in furtherance of drug trafficking, in violation of 21

U.S.C. § 846, and 18 U.S.C. § 924(c).     Defendant is also charged with

possession with intent to distribute cocaine (Count 2), and being a felon

in possession of a firearm (Count 4), in violation of 21 U.S.C. §

841(a)(1), and 18 U.S.C. § 922(g)(1).    Defendant understands that these

charges will be dismissed upon acceptance of his guilty plea, and the

United States confirmed defendant’s understanding.

           Defendant was represented by retained counsel, Steven C.

Frucci, Esquire.    On September 14, 2006, defendant appeared before the

Court for the purpose of entering his guilty plea.      He was appropriate

in appearance, responsive, and competently prepared for the hearing.

           Defendant answered all questions put to him in clear and

concise language.    On those occasions when he had a question, defendant

consulted with counsel     and then   promptly answered.     Defendant was

courteous and appropriate in his behavior at all times and clearly
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understood the seriousness of his position.                        At the close of the

proceeding, defendant was remanded to the custody of the United States

Marshal, pending completion of a pretrial services report and sentencing.

             Defendant is twenty-seven years of age, has a high school

diploma, and speaks English as his native language.                            There was no

evidence that defendant was on drugs, alcohol, or medication which might

impair his judgment.           He was cooperative throughout the proceeding.

             Defendant     entered        the   guilty    pleas       pursuant     to   a    plea

agreement.    The Court is completely satisfied, based upon defendant’s

responses,    that   he    fully       appreciates      his     position.         Furthermore,

defendant    acknowledged         that    the       statement    of    facts      prepared    in

anticipation of his pleas accurately reflects the government’s evidence,

in the event of trial.

             After cautioning and examining defendant under oath concerning

each of the subjects mentioned in Rule 11, the Court determined that the

offenses charged are supported by independent facts, establishing each

of the essential elements of such offenses.                           Therefore, the Court

recommends that the guilty pleas be accepted and that defendant be

adjudged guilty and have sentence imposed accordingly.

             Failure      to    file     written     objections       to   this    report    and

recommendation within ten days from the date of its service shall bar an

aggrieved party from attacking such report and recommendation before the

assigned United States District Judge.                 28 U.S.C. § 636(b)(1)(B).


                                                                 /s/
                                                     James E. Bradberry
                                                     United States Magistrate Judge
Norfolk, Virginia
September 18      , 2006

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                       Clerk's Mailing Certificate

           A copy of the foregoing Report was mailed this date to each of

the following:

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                                  Fernando Galindo, Acting Clerk


                                  By _______________________________
                                              Deputy Clerk

                                  _____________________________, 2006




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